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 1   DANIEL G. BOGDEN
     United States Attorney
 2   KIMBERLY M. FRAYN
     J. GREGORY DAMM
 3   CRANE M. POMERANTZ
     Assistant United States Attorneys
 4   333 Las Vegas Blvd., South, Ste. 5000
     Las Vegas, Nevada 89101
 5   (702)388-6336 / Fax: (702)388-6698

 6
                                  UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
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 9

10   UNITED STATES OF AMERICA                          )
                                                       )
11                           Plaintiff,                )    2:14-cr-0357-AGP-GWF
                                                       )
12      vs                                             )    Motion for Additional Time to Present
                                                       )    United States’ Case in Chief.
13   BRIAN WRIGHT,                                     )
                                                       )
14                        Defendant.

15

16            The United States, by and through the undersigned, respectfully requests that the Court

17   grant the United States an extra half-day (approximately 3 or 4 hours) to present its case-in-chief.

18                                         Points and Authorities

19            On April 25, 2016, the Court expressed its extreme displeasure at the United States’

20   failure to file it witness list and exhibit list in a timely manner. As a sanction, the Court imposed

21   a one day limit for the United States to present its case-in-chief; the Court made itself

22   abundantly clear that the United States would need to pare its witness and exhibit lists as a result.

23            The United States took the Court’s comments to heart and did as directed, paring the

24   witness list from 30 witnesses to 12, see Doc. No. 279 (Second Amended Witness List), and
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 1   dramatically scaling back its exhibit list. See Doc. No. 280. The United States also moved to

 2   voluntarily dismiss Count 5 of the Indictment, alleging Felon in Possession of a Firearm. The

 3   United States continues to regret its actions in not filing its witness list and exhibit list sooner,

 4   accepts all responsibility for its failure to do so, and promises the Court that this will not occur

 5   again.

 6             In moving to dismiss Count 5 of the Indictment, and substantially reducing the number of

 7   witnesses and exhibits, the United States believes it can present a truncated case in chief in one

 8   day, in compliance with the Court’s Order. Several factors may impact this, however. First, the

 9   Court has directed the parties to give opening statements the same day the United States presents

10   its case in chief. Second, the Court inevitably will provide instructions or otherwise admonish

11   the jury when it enters the courtroom on Friday morning. Together, these will likely take

12   approximately one hour. Third, the defendant can dictate the amount of time spent on the United

13   States case-in-chief by engaging in lengthy cross-examinations, a greater likelihood with a pro se

14   defendant. 1 Finally, the United States will seek to admit evidence relating to text messages

15   between defendants Wright and Perreira, which will require several witnesses for an adequate

16   evidentiary foundation, understanding that Court has not definitively ruled on the admissibility

17   of this evidence.

18             If the Court is unwilling to summarily grant this request, the United States respectfully

19   requests that it withhold ruling on this motion until Friday afternoon. If the Court determines

20   that the United States demonstrates good faith and presents its case diligently and efficiently, but

21   cannot complete its case in chief by the close of business on Friday for reasons out of its control,

22   it will consider allowing the United States extra time.

23
     1
24            While the United States does not ascribe any ill intention to the defendant at this juncture, he plainly has an
     incentive to elongate cross-examination in an effort to “run out the clock.”
                                                           2
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 1                                               Conclusion

 2          For all of the foregoing reasons, the United States respectfully requests that the Court

 3   grant it an extra half-day (no more than three or four hours) to present its case in chief.

 4
                                                    DANIEL G. BOGDEN
 5                                                  United States Attorney

                                                            /S/
 6

 7                                                  CRANE M. POMERANTZ
                                                    Assistant United States Attorney
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     Dated: April 27, 2016
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 1                                       Certificate of Service

 2          The undersigned certifies that the he has served this motion on all parties of record via

 3   the CM/ECF system, by electronically filing this document on April 27, 2016.

 4

 5                                              /s/
                                      _____________________
 6                                    CRANE M. POMERANTZ
                                    Assistant United States Attorney
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